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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

    v.
                                                           Case No. 1:21-cr-00537-JMC
PAUL RUSSELL JOHNSON, et al.,

    Defendants.


                  NOTICE RE DEFENDANT PAUL RUSSELL JOHNSON’S
                   MOTION TO MODIFY CONDITIONS OF RELEASE

         NOW COMES the United States of America, through undersigned counsel, and

respectfully provides notice as follows regarding a motion filed by Defendant Paul Russell Johnson

under docket number 21-cr-332-JMC 1 that seeks modification of a release condition:

         1.   Counsel for defendant Johnson sought the prosecution’s position on the above-

referenced motion to allow the defendant to travel to South Carolina. The United States advised

that it would not oppose the motion so long as PreTrial Services did not oppose the motion, and

so long as the defendant provided PreTrial Services with an itinerary and details for his trip, and

agreed to daily check-ins during travel.

         2. The United States also received a draft of the motion to modify which reflected that the

defendant had complied with release conditions, agreed to the government’s prerequisites for his

travel, and did not face opposition to his travel from PreTrial Services so long as this Court

concurred with his request.




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  The United States understands that the case docketed as 21-cr-332-JMC has been consolidated
into the above-captioned case number, and that filings are to occur under the docket number above.
In an abundance of caution, however, the United States is also filing a copy of this notice under
case number 21-cr-332.
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       3.    In that context, the United States informed defense counsel that the motion could be

filed without opposition; based on that understanding, defense counsel filed the motion to modify

as a consent motion.

       4.     After the motion was filed, the United States learned that PreTrial Services was

preparing a report addressing the defendant’s non-compliance with certain conditions of release.

The prosecution informed defense counsel of the foregoing and its potential to cause the

government to change its position towards the motion to modify.

       5.      PreTrial Services submitted its report. Accordingly, the United States seeks to give

notice that it cannot maintain its position of non-opposition.

       6.      Defense counsel has informed the United States that the defense disputes certain

information in the PreTrial Services report. The parties have planned to discuss the defense’s

dispute with the report on March 15, 2022.

       7.      In light of the contents of the report, and until such time as any dispute with the

report can, if possible, be resolved, the United States cannot consent to the relief requested in the

motion to modify.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              D.C. Bar No. 481052

                                               /s/ Karen Rochlin
                                              KAREN ROCHLIN
                                              DC Bar No. 394447
                                              Assistant United States Attorney Detailee
                                              U.S. Attorney’s Office
                                              Southern District of Florida
                                              99 N.E. 4th Street
                                              Miami, Florida 33132
                                              (786) 972-9045
                                              Karen.Rochlin@usdoj.gov
